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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                  )
 LARRY ELLIOT KLAYMAN,                            )
                                                  )
 Plaintiff,                                       )
                       v.                         )
                                                  )   Civil Action No. 20-3109 (RBW)
 JULIA PORTER et al.,                             )
                                                  )
 Defendants.                                      )
                                                  )
                                                  )
                                                  )
LARRY ELLIOT KLAYMAN,                             )
                                                  )
Plaintiff,                                        )
                      v.                          )
                                                  )   Civil Action No. 20-3579 (RBW)
JULIA PORTER et al.,                              )
                                                  )
Defendants.                                       )
                                                  )
                                                  )
                                                  )
 LARRY ELLIOT KLAYMAN,                            )
                                                  )
 Plaintiff,                                       )
                       v.                         )
                                                  )   Civil Action No. 21-0965 (RBW)
 JULIA PORTER et al.,                             )
                                                  )
 Defendants.                                      )
                                                  )
                                                  )

      DEFENDANTS JULIA PORTER, HAMILTON P. FOX, III AND LAWRENCE K.
       BLOOM’S REPLY IN SUPPORT OF THEIR JOINT MOTION TO DISMISS

         Defendants Julia Porter, Hamilton P. Fox, III, and Lawrence K. Bloom, all attorneys

 currently employed by the District of Columbia Bar’s Office of Disciplinary Counsel (“ODC”),

 respectfully file this Reply in further support of their Motion to Dismiss Plaintiff Larry



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Klayman’s Complaint pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure.

ECF No. 129.

       Plaintiff’s sole remaining claim for injunctive relief is moot.           Defendants have

already provided all requested ex parte communications, eliminated any live controversy,

and left this Court without jurisdiction in this case. Furthermore, Plaintiff’s allegations of

dishonesty and unethical behavior by Defendants are unsupported by averments in the

Complaint and therefore do not meet the standard for surviving a motion to dismiss.

I.     Plaintiff’s Claims Are Moot

       Under Article III of the Constitution, federal courts are courts of limited jurisdiction that

can only decide “actual, ongoing controversies.” Honig v. Doe, 484 U.S. 305, 317 (1988) (first

citing Neb. Press Ass’n v. Stuart, 427 U.S. 539, 546 (1976); and then citing Preiser v. Newkirk,

422 U.S. 395, 401 (1975)). A suit becomes moot once the requested action has been performed.

See Cueto v. Dir., Bureau of Immigration & Customs Enf’t, 584 F. Supp. 2d 147, 150 (D.D.C.

2008) (“By providing all the relief [plaintiff] sought in his complaint, the defendants have

rendered this case moot, which deprives this Court of subject matter jurisdiction.”).

       Plaintiff initially sought damages and injunctive relief alleging misconduct by Defendants

related to disciplinary proceedings conducted by the ODC. The U.S. Court of Appeals for the

District of Columbia Circuit affirmed the dismissal of the damages claims on immunity grounds

and reversed dismissal of the injunctive relief claim—explicitly stating that this Court would

have to determine whether any of Plaintiff’s requests for injunctive relief remain unresolved.

Opinion 25, Klayman v. Porter, No. 22-7123 (D.C. Cir. June 11, 2024), ECF No. 2058941.

Defendants have already produced all the documents requested, including copies of the standard

letters and notices that Plaintiff sought.   See Nat. Res. Def. Council, Inc. v. U.S. Nuclear



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Regulatory Comm’n, 680 F.2d 810, 814 (D.C. Cir. 1982) (“[W]e can hardly order the [defendant]

at this point to do something that it has already done.”). The independent verification provided

by Executive Attorney James T. Phalen further demonstrates that no other records exist that

could justify Plaintiff’s ongoing request for relief. See Mot. to Dismiss Ex. A, Decl. of

James T. Phalen (“Phalen Decl.”), ECF No. 129-2. Defendants have fully complied with

Plaintiff’s demand, and there is no further relief to be granted by this Court.

II.    Lack of Merit

       Plaintiff’s allegations of dishonesty and unethical behavior by Defendants are

unfounded and unsupported by any specific allegations in the Complaint. See Trudeau v.

Fed. Trade Comm’n, 456 F.3d 178, 193 (D.C. Cir. 2006) (The court need not “accept

inferences drawn by plaintiffs if such inferences are unsupported by the facts set out in the

complaint[.]” (citations omitted)); Elemary v. Philipp Holzmann A.G., 533 F. Supp. 2d 116,

133 (D.D.C. 2008) (“[Plaintiff] is entitled to all reasonable inferences in her favor, but the

Court need not accept her unsupported, conclusory allegations.” (citation omitted)).

       Plaintiff’s unsubstantiated claims of James T. Phalen’s lack of independence or

alleged bias do nothing to diminish the credibility of his sworn declaration. Declarations

from agency officials are “accorded a presumption of good faith, which cannot be rebutted

by ‘purely speculative claims about the existence and discoverability of other documents.’”

SafeCard Servs., Inc. v. Sec. & Exch. Comm’n, 926 F.2d 1197, 1200 (D.C. Cir. 1991)

(quoting Ground Saucer Watch, Inc. v. CIA, 692 F.2d 770, 771 (D.C. Cir. 1981)); see also

Partin v. Fed. Bureau of Investigation, No. 02-5336, 2004 WL 433987, at *1 (D.C. Cir.

Mar. 2, 2004) (“[S]peculative claims about the existence of other documents cannot rebut

the presumption of good faith that applies to agency affidavits[].” (citing SafeCard Servs.,



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Inc., 926 F.2d at 1200)). Mr. Phalen’s affidavit clearly explains that no additional letters

or similar communications exist in the ODC’s files, and therefore should be regarded as

credible evidence unless Plaintiff provides concrete proof to the contrary.

       Mr. Phalen, as the Executive Attorney of the District of Columbia Board on

Professional Responsibility, operates independently from the ODC, overseeing disciplinary

matters and ensuring the integrity and ethics of the legal profession in the District of

Columbia.        See    D.C.,   Attorney     Discipline,   https://www.dccourts.gov/court-of-

appeals/learn-more/attorney-discipline (last visited Oct. 8, 2024); Phalen Decl. ¶¶ 3–5. His

role demands impartiality and adherence to strict ethical guidelines, which further supports

the integrity of his review and the credibility of his findings.

       Plaintiff’s request for broad access to all ODC files through discovery is an obvious

effort to prolong litigation rather than a genuine attempt to resolve an ongoing issue.

Without specific and credible evidence to support claims of “cherry-picking,” this request

is nothing more than a “fishing expedition.” United Presbyterian Church in U.S.A. v.

Reagan, 738 F.2d 1375, 1383 (D.C. Cir. 1984) (citing United Presbyterian Church in

U.S.A. v. Reagan, 557 F. Supp. 61, 64 (D.D.C. 1982)); see also Halperin v. Kissinger,

606 F.2d 1192, 1209 n.120 (D.C. Cir. 1979) (highlighting the necessity of “close control of

discovery in suits against [] officials . . . to [] preserv[e] [] meaningful official immunity”

(collecting cases)).

       Moreover, contrary to Plaintiff’s assertions in his opposition, Pl.’s Opp’n 12–13,

ECF No. 132, the only specific injunctive relief sought was the “immediate production of

all of the above-referenced ex parte communications.” Complaint ¶ VII(d), No. 21-cv-965,

ECF No. 1.       Plaintiff’s assertion that his complaint seeks injunctive relief beyond



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production of the letters is not true. Plaintiff did not seek an injunction against any broader

conduct by the ODC in any of the three complaints before the Court. In Case No. 21-965,

Plaintiff seeks production of the ex parte communications and “preliminary and permanent

injunctive relief[,]” without specifying what form that injunctive relief could or should

take. See id. ¶ VII(f). Likewise, in the complaints in Case Nos. 20-3579 and 20-3109,

Plaintiff tacked on bare requests for some kind of plenary “injunctive relief” to his

underlying claims for damages. See Corrected Complaint ¶ VII(a), No. 20-cv-3579, ECF

No. 2; Complaint ¶ VII(a), No. 20-cv-3109, ECF No. 1.             Such formless references to

generalized injunctive relief do not give rise to a live controversy such that this Court

retains jurisdiction, particularly where the underlying damages claims have been dismissed.

See Crook v. Galaviz, 616 F. App’x 747, 753 (5th Cir. 2015) (“[A]ny motion or suit for a

traditional injunction must be predicated up on a cause of action . . . . There is no such

thing as a suit for a traditional injunction in the abstract.” (alterations in original) (quoting

Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1097 (11th Cir. 2004))); Pierce v.

Kaufman Cty. Dist. Att’y’s Office, No. 16-cv-2554, 2018 WL 5624195, at *7 (N.D. Tex.

Sept. 27, 2018) (holding that dismissal of plaintiff’s underlying damages claims “also

warrant[ed] dismissal of his claim for injunctive relief” (citing Crook, 616 F. App’x at

753)); Williams v. Bond, No. 22-cv-7513, 2023 WL 2784387, at *2 (D.N.J. Apr. 5, 2023)

(holding that plaintiff failed to “meaningfully state a specific request for relief” because he

did not “specify[] what kind of injunctive relief, and who or what Plaintiff specifically

[sought] to enjoin”). Defendants’ full compliance with the production of the requested ex

parte letters has thus rendered Plaintiff’s claims for injunctive relief moot.




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       There is also no legitimate basis for discovery or some kind of “forensic analysis”

of the ODC’s repository of disciplinary files. Pl.’s Opp’n 12, 14. The completeness of

Defendants’ production has already been confirmed by Executive Attorney Phalen’s

independent sworn declaration. Defendants and the ODC acted, at all times, fully within

their official capacities. There is also a legal presumption of regularity that attaches to the

actions of officials performing their duties. See C.G.B. v. Wolf, 464 F. Supp. 3d 174, 190

(D.D.C. 2020) (“[I]n the absence of clear evidence to the contrary, courts presume that

[public officers] have properly discharged their official duties.” (alterations in original)

(quoting United States v. Armstrong, 517 U.S. 456, 464 (1996))).          Plaintiff’s repeated

urging that anyone who disagrees with him—whether prosecutor, opposing counsel or

judge—must be corrupt, carries no weight. Plaintiff Klayman offers nothing to effectively

question the overwhelming presumption that Defendants have fulfilled their responsibilities

in good faith.

                                      CONCLUSION

       For all the foregoing reasons, the Court should grant Bar Defendants’ Motion to

Dismiss this action with prejudice.




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Dated: October 10, 2024             Respectfully submitted,

                                    /s/ Caroline L. Wolverton
                                    Caroline L. Wolverton (D.C. Bar No. 496433)
                                    Samantha J. Block (D.C. Bar No. 1617240)
                                    AKIN GUMP STRAUSS HAUER & FELD LLP
                                    2001 L Street NW
                                    Washington, DC 20006
                                    Tel: (202) 887-4000
                                    Fax: (202) 887-4288
                                    cwolverton@akingump.com
                                    samantha.block@akingump.com

                                    /s/ Mark J. MacDougall
                                    Mark J. MacDougall (D.C. Bar No. 398118)
                                    SCHERTLER ONORATO MEAD & SEARS
                                    555 13th Street, N.W., Suite 500 West
                                    Washington, DC 20004
                                    Telephone: (202) 628-4199
                                    mmacdougall@schertlerlaw.com

                                    Attorneys for Defendants Julia Porter, Hamilton P.
                                    Fox, III, and Lawrence K. Bloom




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2024, a copy of the foregoing document was filed

electronically and served pursuant to this Court’s ECF Filing System, upon Plaintiff and counsel

of record.

Dated: October 10, 2024

                                                    /s/ Caroline L. Wolverton
                                                    Caroline L. Wolverton (D.C. Bar No. 496433)




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